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                                   UNITED      STATES    DISTRICT     COURT
                                   EASTERN DISTRICT           OF VIRGINIA
                                            Norfolk Division




    In   re:
    ZETIA      (EZETIMIBE)    ANTITRUST
    LITIGATION


                                                                          MDL NO.        2:18md2836


                                               OPINION


            This    matter    comes       before       the    court    upon     the      End    Payor

    Plaintiffs'       ("EPPs")      Motion      for    Final    Approval      of    the parties'

    proposed Settlement Agreement and Motion for Award of Attorneys'

    Fees.      ECF Nos.    2158   and 2160.1


                                          I.   BACKGROUND


            The court will briefly review the facts and procedural history

    relevant to the EPP Settlement Agreement.                     The EPPs filed this case

    under state competition and unjust enrichment laws against Merck

    and Glenmark          (collectively "Defendants").2 The EPPs alleged that




         1 The Class Representative EPPs are the City of Providence,
    Rhode Island; International Union of Operating Engineers Local 49
    Health      and Welfare       Fund;   Painters      District      Council      No.    30   Health
    & Welfare Fund;   Philadelphia Federation of Teachers Health &
    Welfare Fund; Sergeants Benevolent Association Health & Welfare
    Fund; The Uniformed Firefighters' Association of Greater New York
    Security Benefit Fund; The Retired Firefighters' Security Benefit
    Fund of the Uniformed Firefighters' Association; and United Food
    and Commercial Workers            Local     1500    Welfare   Fund.
            2 The Merck Defendants          ("Merck")        consist of Merck & Co.,            Inc.;
    Merck Sharp & Dohme Corp.; Schering-Plough Corp.; Sobering Corp.;
    and MSP Singapore Co. LLC. The Glenmark Defendants ("Glenmark")
    consist   of   Glenmark    Pharmaceuticals,                       Ltd.         and     Glenmark
    Pharmaceuticals Inc., USA.
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    Defendants          entered       into     an         unlawful      agreement          to    delay       the

    introduction         of     a     less    expensive          generic       version          of     Merck's

    cholesterol-lowering                medication,              Zetia,        which           resulted       in




    artificially inflated prices for branded Zetia                                 (Ezetimibe)         and its

    generic       equivalents.         The     alleged         unlawful        agreement         is    a    2010


    settlement         agreement       resolving           a   patent     infringement           litigation

    Merck brought against Glenmark after Glenmark filed an Abbreviated

    New Drug Application               ("ANDA")         seeking to manufacture,                 market,      and

    sell    a   less    expensive,           generic        form of     Zetia.      As     a    result,      the

    EPPs    alleged      that       they     paid more          for    Zetia       and/or       its    generic

    equivalents than they would have paid absent Defendants' unlawful

    conduct.       Defendants       denied:         (1)    the EPPs'      allegations of unlawful

    or wrongful conduct; and (2) that any of the alleged conduct caused

    any damage.

            The    court     previously certified                the    EPP    Class       on August         20,

    2021,       after      full     briefing            and    hearing        on    the        EPPs'       class


    certification motion.              See ECF Nos.            1094    (Report & Recommendation ),

    1316    (Order Adopting Report                  &     Recommendation).           The       EPP Class      is

    defined       therein.


            All Third-Party Payor entities                      ("TPPs")      within the Brand
            Subclass       or   the    Generic          Subclass      defined       herein       that,
            for consumption by their members, employees, insureds,
            participants,   or beneficiaries,  and not for resale,
            indirectly purchased, paid and/or provided reimbursement
            for some or all of the purchase price of Zetia or its
            AB-rated generic equivalents in any form, that was sold
            through   a   retail   pharmacy,  including   mail-order
            pharmacies and long-term care pharmacies, in Alabama,

                                                           2
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         Arizona,             California,   District   of     Columbia,      Florida,
         Hawaii,              Illinois,   Iowa,   Kansas,      Maine,       Michigan,
         Minnesota, Mississippi, Nebraska, Nevada, New Hampshire,
         New Mexico,  New             York,    North    Carolina,
                                                         Dakota,      North
         Oregon,  Puerto              Rico,    Rhode     Island,
                                                         Dakota,     South
         Tennessee, Utah, Vermont, Virginia!,] West Virginia and
         Wisconsin from November 15, 2014 (the "but-for generic
         entry date") through November 18, 2019.

         Brand Subclass: TPPs that indirectly purchased, paid
         and/or provided reimbursement for some or all of the
         purchase price of brand Zetia purchased between the but
         for generic entry date and December 11, 2016, inclusive.
         Excluded from the Brand Subclass are Opturn Health Part
         D Plans, Silverscript Part D Plans, Emblem Health Part
         D, Humana Part D Plans, Optum Health Managed Care Plans,
         and any TPPs that used one of these plans or OptumRx as
         its  pharmacy benefits    manager  ("PBM")  during  this
         subclass period.

         Generic Subclass; TPPs that indirectly purchased, paid
         and/or provided reimbursement for some or all of the
         purchase price of generic ezetimibe purchased between
         the generic entry date (December 12, 2016) and November
          18,        2019,    inclusive.

         General Exclusions:               The following entities are excluded
         from         both    subclasses:


                a.    Defendants     and    their   subsidiaries    and   affiliates;


                b. All federal and state governmental entities except
                for cities, towns, municipalities or counties with
                self-funded prescription drug plans;

                c. All entities who purchased Zetia or generic Zetia
                for purposes of resale or directly from Defendants or
                their        affiliates;


                d. Fully-insured health plans (i.e., health plans that
                purchased insurance from another third-party payor
                covering 100 percent of the plan's reimbursement
                obligations to its members); and

                e.    Pharmacy benefit managers.




                                                    3
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    See    ECF    No.     1094   at   4-5.


            After       class     certification,                  the    EPPs     then    implemented         and

    effectuated the court-approved Notice Plan,                                   giving members of the

    Class     the      opportunity       to    exclude            themselves       from the       Class.      See



    ECF No.       1497.    Sixteen     (16) members of the Class requested exclusion

    at that time.           See ECF No.        1637      at 3,          24.^

            The     EPPs    proceeded         to    a    consolidated             trial    with    two    other

    sets    of plaintiffs:            the     Direct         Purchaser         Plaintiffs       ("DPPs")      and

    the     Retailer        Plaintiffs.        The       court          resolved    extensive          pretrial

    matters,        including         motions           to        dismiss,        exhaustive       discovery

    disputes,          Daubert motions,            and motions for summary judgment.                          The

    court entered its final pre-trial order on April 14,                                       2023.    See ECF

    No.    2086.    The consolidated trial began on April                                19,   2023.    See ECF

    No.    2106.    During jury selection,                       but before a jury was impaneled.

    all    Plaintiffs participating in the consolidated trial agreed to

    settle        their     disputes         with       Defendants.             Thereafter,       the     court

    entered dismissal orders                  for the        DPPs       and the    Retailer Plaintiffs,


    ECF Nos. 2139,          2142;     and preliminarily approved settlement for the

    EPPs,    ECF No.        2151.     Pursuant          to       the    court's preliminary approval

    order,       the    EPPs     submitted          a    Motion          for    Final     Approval       of   the

    Settlement and documentation in support on September 13,                                       2023.      ECF

    Nos.    2158       (Motion for Final Approval),                      2159    (Memorandum in Support



            3 The list of sixteen              (16)      excluded members is attached hereto
    as    Exhibit A and made            a part hereof.

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    of    Motion       for    Final Approval).                  The       EPPs    also        submitted          a   Motion


    for    Award       of     Attorneys'               Fees,        Reimbursement              of     Expenses,            and

    Incentive          Awards        for     the       Class        Representative                 Plaintiffs,            with

    documentation             in     support,           on    September           13,    2023.        ECF      Nos.       2160

    (Motion for Attorneys'                   Fees), 2161              (Memorandum in Support of Motion

    for    Attorneys'              Fees).        On    September           21,    2023,        the       court       held    a

    fairness       hearing           on     the       proposed            Settlement          Agreement           and      the

    Motion for Attorneys'                   Fees.        ECF No.          2166.

            Pursuant          to    the     terms       of    the     Settlement          Agreement,             the EPPs

    have agreed to dismiss their claims against Defendants in exchange

    for a $70,000,000.00 payment,                             which        Defendants will deposit                        into

    a     Settlement           Fund.         See        ECF         No.     2134-1        at       7-8      (Settlement


    Agreement).          The        parties           have     agreed        that       the        attorneys'         fees,

    reimbursement             for     litigation              costs        and    expenses,              and   incentive


    awards       for    the    Class        Representatives                 will        be withdrawn            from the

    Settlement         Fund.        Id.     at    11.    The        remainder       of    the       Settlement            Fund


    will    be   distributed              to members           of     the    Class       on    a    pro    rata      basis.

    in    accordance          with    the        Plan    of    Allocation.              ECF    No.       2134-4      at    3-4


    (Plan    of Allocation).                 The       Settlement Agreement                    is binding on               all

    Class members and completely resolves all claims of the EPP Class.

    ECF    No.   2134-1        at    13-15.




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                        II.        APPROVAL           OF    THE    SETTLEMENT                 AGREEMENT


           A.    Legal Standard

           Settlement              of    a   class          action              that   would        bind    absent      Class


    members requires the court's approval.                                        Fed. R. Civ. P. 23(e). After

    the    parties          have        provided           notice          to      all    members          of   the    Class,

        [t]he approval of a proposed settlement agreement is in the sound
    w




    discretion         of    the        Court.         Strang         v.         JHM   Mortq.        Sec.    Ltd.     P'ship,
                                                 ft




    890 F.      Supp.       499,    501      (E.D.         Va.    1995).          The court must then conduct

    a fairness hearing at which Class members may appear to object or

    support the proposed settlement.                               See Fed.              R.   Civ.    P.    23(e) (2). The

    court may finally approve the Settlement Agreement,                                                    only after the

    fairness hearing and a determination that the Settlement Agreement

          fair,       reasonable,            and adequate.
                                                                           ft
    IS                                                                           Id.


           Rule       23(e) (2)          provides           factors              for     courts      to     consider       when

    determining         the         fairness,              reasonableness,                    and     adequacy        of    the

    Settlement Agreement.                    These factors include whether:

                (A)     the class representatives and class counsel have
                        adequately represented the class;
                (B)     the proposal was negotiated at arm's length;
                (C)     the relief provided for the class is adequate,
                        taking into account:
                        (i)     the costs, risks, and delay of trial and
                                         appeal;
                        (ii)             the effectiveness of any proposed method
                                         of  distributing  relief  to  the  class,
                                         including the method of processing class-
                                         member       claims;
                        (ill)            the  terms               of   any   proposed  award                          of
                                         attorney's               fees,    including  timing                          of
                                         payment;           and



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                           (iv)      any      agreement                 required              to   be      identified
                                     under        Rule        23(e)(3);                 and
                  (D)     the      proposal             treats           class             members         equitably
                          relative      to    each        other.


    Id.


           The      Fourth Circuit            has        developed                     multifactor          standards        for
                                                                                   w




    assessing whether a class-action settlement is                                                 'fair,      reasonable,

    and    adequate'            under    Rule           23(e)(2).
                                                                             tt
                                                                                   In     re;      Lumber      Liquidators

    Chinese-Manufactured                Flooring              Prods.              Mktq.,       Sales     Pracs.     &     Prods.

    Liab. Litig. ,           952 F.3d 471,              484    (4th Cir.                 2020)     (citing In re Jiffy

    Lube Sec.           Litig. ,   927 F.2d 155,               159       (4th Cir.             1991) ) .    Consideration

    of    these         factors    ensures              the    protection                 of     class members             whose
                                                   \\




    rights may not have been given adequate consideration during the

    settlement negotiations.                        Jiffy          Lube,           927     F.2d     at     158.    The     court
                                              n




    now assesses the               fairness and adequacy of the proposed Settlement

    Agreement by applying the factors set forth in Jiffy Lube.^

           B.     The     Settlement         is    Fair


           In      determining          the        settlement's                     fairness,            the      court     must

    consider:


            (1)         the posture of the case at the time settlement was
                        proposed;
            (2)         the extent of discovery that had been conducted;
            (3)         the circumstances surrounding the negotiations; and


         ^ The Fourth Circuit's Jiffy Lube factors do not explicitly
    address the "reasonableness" of a proposed settlement, but "almost
    completely overlap" with the factors provided in Rule 23(e)(2).
    Lumber      Liquidators,            952       F.3d        at       484        n.8.     The     court's        conclusion
    that the Settlement Agreement is fair,                                         reasonable, and adequate is
    the same whether analyzed under the                                            Jiffy Lube factors or the
    factors provided in Rule 23(e)(2).

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             (4)        the experience of                    counsel        in       the     area        of        [the]       class
                        action litigation.

    Lumber         Liquidators,                952     F.3d        at    484        (alteration               in      original)

    (quoting           Jiffy Lube^             927    F.2d at 159).

                        1.    Case       Posture


                                                                                                                 'how far the
            \\

                 The first factor requires the court to evaluate

    case     has       come        from     its       inception [,] '               since        a    settlement               in    an

    immature case might point                           towards collusion,                       while       a    mature        case

    will point           in the          opposite           direction.
                                                                               !/
                                                                                    Domonoske           v.       Bank     of    Am.,


    N.A.,        790     F.    Supp.        2d       466,    473        (W.D.       Va.     2011)           (alteration              in


    original)           (quoting          In re The Mills Corp.                       Sec.           Litiq.,        265    F.R.D.

    246,    254        (E.D.       Va.    2009)).

            The        court        finds       that        the   case     was        mature           at     the       time        the


    parties agreed to settle.                          Here,       the parties agreed to                          settle only

    after the trial began,                       during the jury selection process.                                       At    that

    time,        the     parties           had       actively           litigated           motions              to     dismiss.

    exhaustive           discovery             disputes,          Daubert           motions,           and motions                  for

    summary        judgment.             The     parties'          extensive              litigation             over      nearly

    five years prior to trial eliminates concern by the court that the

    Settlement Agreement was                          a product of collusion.

                       2.     Extent of Discovery

            The second factor requires the court to determine whether the

    case     was       well-enough               developed          so     that       the        EPPs        were       able         to

     appreciate              the    full       landscape of their case
                                                                                            ft

                                                                                                     before       agreeing           to
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    the settlement.                 The Mills Corp.,             265 F.R.D. at 254. Here,                       the court

    finds       that        the     record        was    sufficiently developed                      at    the       time        of

    settlement.              The        parties         completed       pretrial              discovery          prior           to

    settling,          which included the production and review of millions of

    pages of documents and dozens of witness depositions.                                                  See       ECF        No.


    2159 at 11. The full record of discovery allowed the EPPs to assess

    the     merits           of        the      proposed        Settlement          Agreement             compared               to

    continued litigation.

                       3.        Circiimstances Surrounding Negotiations

            The        third            factor        requires         the     court           to     evaluate
                                                                                                                           >\
                                                                                                                                the


    conditions                   and         circumstances             surrounding                  the        settlement


    negotiations                  to     ensure       that   the      settlement          is    the       result       of        an
                            //




    arm's-length negotiation.                           The Mills Corp.,            265 F.R.D. at 255.                          The


    objective          of        this     factor        is to   ensure that              'counsel         entered          into


    settlement negotiations on behalf of their clients after becoming

    fully       informed           of     all     pertinent          factual       and    legal       issues          in        the

                     Id.     (quoting S.C.              Nat'l Bank v.          Stone,          749 F.      Supp.       1419,
            f   //
    case.



    1424    (D.S.C.              1990)) .


            The        court        is       satisfied       that     the     Settlement             Agreement             IS     a




    product            of                                                                       Counsel              entered
                                          N\

                                               arms-length           negotiation.
                                                                                          H
                                  an




    negotiations with a thorough understanding of the case after fully

    preparing to                 take    the      case    to trial.          The   settlement negotiations

    were        also       guided         by     an     experienced          mediator,          who       is     a    former

    federal judge.                 See ECF No.           2159 at 2.          These circumstances support


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    that the settlement negotiations were not mere cover for collusion

    between the parties but were a thorough effort to achieve the best

    result       for    the    Class.


                       4.    Experience of Counsel

            The fourth factor looks to the experience of the EPPs'                                        counsel

    in    this    field of       law.        See    The   Mills Corp.,           265   F.R.D.     at     255.   The

    court has previously found that counsel                                    have years of experience
                                                                           w




    litigating              similar         cases     across         the        country    and         extensive

    knowledge of the applicable law from that experience.
                                                                                             tt
                                                                                                   ECF No.      105


    at    8. Additionally,                 the court favorably considers that counsel are

    affiliated with              well-regarded law firms with strong experience in

    the    relevant          field.        See Brown v.         Transurban USA,           Inc.,     318    F.R.D.
                                      ft




    560,     573       (E.D.     Va.        2016)     (citation        omitted) .         Given        counsels'


    experience and qualifications,                         it is     "entirely warranted" for the

    court to pay heed to their assertion that the Settlement Agreement

    provides the best outcome for the Class.                                   See The Mills Corp.,             265

    F.R.D.       at    255.


            C.    The Settlement is Adequate

            The court must                 consider the         following         factors to assess             the

    settlement's adequacy:

            (1)        the    relative         strength         of   the       plaintiffs'        case    on    the
                       merits;
            (2)        the existence of any difficulties of proof or strong
                       defenses the plaintiffs are likely to encounter if the
                       case goes to trial;
            (3)        the anticipated duration   and expense  of additional
                       litigation;


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            (4)     the solvency of the defendant[s] and the likelihood of
                    recovery on a litigated judgment; and
            (5)     the degree of opposition to the settlement.

    Lumber Liquidators/              952    F.3d at 484             (citing       Jiffy Lube,              927    F.2d

    at    159).


                    1.     Strength        of     the        Plaintiffs'          Case         and     Potential
                    Difficulties           at   Trial


            The    court     analyzes       the        first     and    second         "adequacy"              factors

    together       because        they     are    closely          intertwined.
                                                                                          \\
                                                                                               The     first       and


    second factors           addressing the             adequacy of the                settlement require

    the    court    to    examine        'how much       the     class    sacrifices            in a settling

    a potentially strong case in light of how much the class gains in

    avoiding the uncertainty of a potentially difficult
                                                                                                       f   n
                                                                                               case.           Brown,


    318    F.R.D.        at 573    (quoting The             Mills      Corp. ,     265    F.R.D.           at 256).

    The advanced stage of the litigation suggests                                  that the EPPs had a

    strong case as the EPPs successfully certified the Class,                                                  See ECF

    No.    1316,    and defeated           Defendants'           motions         for    summary        judgment.

    See ECF No.          1929.    However,       as in any trial, EPPs faced significant

    risk     proving         liability           and        establishing           damages.            Here,        an


    outstanding motion              dm    limine       on    the    admissibility of                 a piece of

    Defendants'          evidence increased the uncertainty for both sides. The

    court is satisfied that the Settlement Agreement                                     accounts for the

    strength of the EPPs' case in light of the risks present in proving

    their    case    at    trial.




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                     2.    Duration and Expense of Additional Litigation

           The       third      factor        asks       the    court      to    weigh      the    settlement             in

    consideration            of       the    substantial             time     and    expense       litigation             of

    this   sort would entail                  if a       settlement was             not   reached.
                                                                                                        tt
                                                                                                              The    Mills


    Corp. ,     265       F.R.D.       at 256.           Absent      the      Settlement          Agreement,             the

    case would have proceeded to a five-week trial.                                         In addition to the

    substantial expenses of trial, the nearly five-year record in this

    case suggests that the parties would have continued to vigorously

    litigate beyond the                     trial.       The trial would have almost certainly

    been      followed          by    extensive           post-trial            proceedings         and       a     likely

    Fourth Circuit appeal by the losing party. See In re MicroStrateqy,

    Inc.      Sec.     Litiq. ,         148        F.     Supp.      2d      654,     667    (E.D.           Va.     2001)

     {"[T]bere is little doubt that a jury verdict for either side would

    only      have     ushered          in    a     new    round        of      litigation        in    the         Fourth

    Circuit and beyond,                     thus     extending the              duration of         the case             and

    significantly delaying any relief for plaintiffs.").                                               The court is

    satisfied         that       the        Settlement          Agreement           saves    EPPs       substantial

    time and expense.

                     3.    Solvency of the Defendants and Likelihood of Recovery

           The       fourth          factor       considers          the     solvency       of the           Defendants

    and assesses whether the Settlement Agreement provides for a better

    outcome      for      the   Class        than       if the    Plaintiffs         were    to   try to collect

    a   litigated         judgment           from an       insolvent defendant.                   The        court      does

    not    find      that       the    Defendants              are   at      risk    of   insolvency              and    the


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    EPPs do not question the                   Defendants'            solvency or their ability to

    pay a    litigated judgment.                See ECF No.                2159        at 17.       However,          given

    the    other        factors   weighing           in        favor            of     the     adequacy          of     the

    Settlement Agreement,              this factor alone                        should not preclude final
                                                                           \>




    approval      of     the   proposed          Settlement.                                 318     F.R.D.       at    573
                                                                      rr
                                                                            Brown,


     (citing Henley v.          FMC Corp.,           207 F.          Supp.           2d 489,       494    (S.D.W.       Va.

    2002)).


                   4.    Degree of Opposition to the Settlement

            The   final    factor            looks   to    the       reaction           of     the       Class    to    the
                                        \\




    proposed settlement.               The Mills Corp. ,               265 F.R.D. at 257. The court
                                  tt




    finds that EPPs fully complied with the court's order establishing

    a Notice      Plan to inform Class members                             of the proposed Settlement

    Agreement.         See ECF No.           2151.   The Claims Administrator's execution

    of    this    Notice       Plan     included          42,006            postcards.               1,258       emails.


    digital advertising,               a news release,                and maintenance of a website

    and toll-free          telephone          number.      See        ECF        No.    2157-1           at   1-3.     This


    Notice Plan informed Class members of their right to object to the

    proposed       Settlement          Agreement.              Id.     at 4.           Despite           being        fully

    informed      of     the   proposed         Settlement            Agreement              and      the     right      to

    object to it,         no member of the Class submitted an objection to the

    Claims    Administrator            or     objected         to     the        Settlement              Agreement       at




                                                          13
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    the fairness hearing.^ The lack, of any objection to the Settlement

    Agreement strongly supports a finding that it is adequate.

           D.   Equity of Distribution

                                                                                                      \\
           While        the    Fourth         Circuit's           Jiffy        Lube     factors            almost


    completely      overlap            with    the    factors          set    forth    in    Rule   23(e)(2),
                                 tt




    they do not         address whether the Settlement Agreement treats Class

    members      equitably            relative        to        each     other.       Fed.     R.    Civ.      P.


    23(e)(2)(D).        The court finds that the pro rata distribution of the




         5 The Claims Administrator reported that fourteen (14) members
    of the Class attempted to exclude themselves from the Class upon
    notice of the proposed Settlement Agreement. ECF No. 2157-1 at 3-4
    (reporting untimely exclusion requests from: Anesthesia Physician
    Solutions      of    South        Florida;       Arizona       EM-I       Medical       Services,       P.C.;
    Emergency Medical Associates of NJ; Envision Healthcare Corp.;
    Envision Physician Services, LLC; Florida EM-I Medical Services,
    P.A.; HCA-Emcare Holdings, LLC; Infinity Healthcare Physicians,
    S.C; Nevada EM-I Silver/Homansky Medical; New Jersey Healthcare
    Specialists,   P.C.;   Northside   Emergency  Associates,  P. C. ;
    Radadvantage, A Professional Corp.; Sheridan Anesthesia Services
    of Georgia; and Wabash EM-I Medical Services, P.C.).
         Class members were previously provided notice of Class
    certification and had an opportunity to opt out of the Class at
    that   time. See          ECF No.         637. Instead, these                   Class members waited
    over    fourteen           months,          after  the  Class                   Representatives  had
    negotiated      a     Settlement           Agreement,          to
                                                              from the       seek    exclusion
    Class.      These    Class        members    cannot      they like
                                                                wait     and    see    whether
    the result the Class Representatives achieve before deciding
    whether they want to be members of the Class. Thus, the court does
    not consider these untimely requests for exclusion. The proper
    avenue for expressing dissatisfaction with the proposed Settlement
    Agreement would have been to submit an objection. These Class
    members did not submit any objections nor provide any reason for
    their untimely exclusion requests, so the court does not interpret
    these exclusion requests as objections. The court further notes
    that  sixteen  (16) members of the Class made timely exclusion
    requests. See supra note 3 and accompanying text.


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    Settlement Fund provided in the Plan of Allocation satisfies this

    requirement.®

            E.    Conclusion


            For the foregoing reasons, the court finds that the Settlement

                                                                                                                      the
    Agreement          is        fair,     reasonable,                and    adequate.         Accordingly,

    court    GRANTS           EPPs'       Motion       for       Final       Approval         of     the   Settlement

    Agreement,          ECF No.          2158.


                         III.       ATTORNEYS'         FEES,           COSTS,       AND EXPENSES

            Counsel          for    the     EPPs      have        also       filed       a   Motion    for    Award    of

                                                                                                                      and
    Attorneys'           Fees,           Reimbursement                 of        Costs       and     Expenses,

    Incentive Awards for the Class Representative Plaintiffs.                                                 ECF   Nos.



    2160, 2161. Counsel request one-third (1/3)                                          of the Settlement Fund

    in attorneys'                fees.    which       results           in   an award         of    $23,333,333.33.

    ECF     No.        2161       at 2.         Counsel          seek        $3,905,175.85            to     reimburse

    reasonable costs and expenses and $300,000 for incentive awards to

    be divided among the seven Class Representative Plaintiffs."^                                                     Id.




            ® See       supra note          4.

                 The    incentive           award          is     to        be     divided         among     the    Class
    Representative                 Plaintiffs              as     follows:             (i)    Painters District
    Council       No.       30    Health        &   Welfare           Fund         $75,000; (ii) The City of
    Providence,             Rhode
                        Island -$75,000;                                         (iii)     Sergeants Benevolent
    Association - $30,000; (iv) Uniformed Firefighters^ Association of
    Greater New York Security Benefit Fund and Retired Firefighters'
    Security Benefit                Fund of the Uniformed Firefighters'                                    Association
    -   $30,000;            (V)    United           Food        and    Commercial            Workers       Local     1500
    Welfare Fund - $ 30,000;                         (vi) Philadelphia Federation of Teachers
    Health        &    Welfare           Fund         $30,000;  (vii) International Union of
    Operating Engineers Local 49 Health and Welfare Fund - $30,000.
                                                                 15
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    No     Class         members           have       filed             an        objection          to     the         amount         of

    attorneys'           fees,       expenses,          or incentive awards.

            A.     Attorneys'             Fees

                        1.    Legal Standard

                 [A]    litigant or a lawyer who recovers a common fund for the
            \\




    benefit of persons other than himself or his client is entitled to

    a reasonable attorney's fee from the fund as a whole.
                                                                                                                  tt
                                                                                                                        Boeing Co.

    V.    Van     Gemert,           444    U.S.       472,         478        (1980).          Federal       Rile             of    Civil

    Procedure           23(h)       provides          that          [i]n a          certified class                    action,        the
                                                              \\




    court may award                  reasonable attorney's                              fees    and nontaxable                      costs
                                                                                                                         tt

    that are authorized by law or by the parties'                                                    agreement.                Fed.    R.


    Civ.    P.     23(h).          Here,    the parties'                 agreement states that attorneys'

    fees,        expenses,           and       incentive            awards              will    be     deducted               from    the

    Settlement           Fund.       ECF No.          2134-1            at    11-13.       Thus,       the       only question

    for     the         court       is     whether           the             requested          attorneys'               fees         are


    reasonable.


            There             are        two      primary                methods               for        calculating                 the

    reasonableness                         of           attorneys                              fees:               (1)                the


     percentage-of-recovery                                             percentage-of-the-fund")                               method;
                                                 tt
                                                       (or
                                                                   \\




    and     (2)        the     lodestar          method.            See           The    Mills        Corp.,           265         F.R.D.

    at 260.        As        its    name       suggests,            the           percentage-of-recovery                           method

    calculates an award based on a percentage of the                                                      recovery for the

    Class.        Id.    The court then applies a seven-factor test to determine

    whether        the        requested percentage                           is    reasonable.             Id.     at         261.    The


                                                                    16
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                                                                                                \>
    lodestar           method     calculates             reasonable             fees                 by     multiplying                    the

    number        of     reasonable             hours     expended             times            a         reasonable
                                                                                                                                                 n

                                                                                                                                     rate.

    McAfee        v.     Boczar,          738     F.3d        81,              (4th            Cir.         2013)             (citation


    omitted) .          The     Fourth          Circuit       has        not   adopted                either             method                for

    calculating              attorneys'           fees,       but        the        current                trend          among            the

    courts of           appeal        favors      the     use       of    a    percentage method                               .     .
                                                                                                                                                in




    common        fund       cases.
                                      n
                                           Brown,       318       F.R.D.       at     575            (citation omitted);

    see     also       The     Mills       Corp. ,      265       F.R.D.       at     260             ("While            the         Fourth

    Circuit has not definitively answered this debate,                                                         other districts

    within        this       Circuit,           and    the     vast       majority                   of    courts              in        other

    jurisdictions              consistently apply a percentage                                        of       the       fund method

    for calculating attorneys                           fees      in common           fund            cases.")

             A    benefit        of       the    percentage-of-recovery                               method             is        that         it

         better    aligns       the       interests          of      class      counsel                   and    class members
    >\




    because        it    ties     to       the        attorneys'          award           to         the        overall              result


    achieved rather than the hours expended by the attorneys.
                                                                                                                              rr
                                                                                                                                    Kay Co.


    V.    Equitable Prod.             Co.,       749 F.      Supp.        2d 455,          462            (S.D.W. Va. 2010).

    However,           the    lodestar          method        can     still          be        used        as        a    comparison

    tool     to    check        the       reasonableness                 of    the        percentage-of-recovery

    award.        This "lodestar cross-check" compares                                          (1)        a    calculation of

    attorney's           fees    using          the    percentage-of-recovery method to                                                  (2)     a

    rough or imprecise lodestar calculation.                                          Lumber               Liquidators,                    952
                                                                                ft




    F.3d at 482 n.7              (citing In re Rite Aid Corp.                                  Sec. Litig.,                        396 F.3d

    294,     305-06          (3d Cir.      2005)).       The      court will
                                                                                          N>
                                                                                               take advantage of the

                                                                17
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    benefits        of    both    methods.                and apply the                lodestar cross-check to
                                                    tt




    further         evaluate            the     reasonableness                    of     the     proposed           award.

    Domonoske,           790 F. Supp. 2d at 475                      (citation omitted);                   see Kay Co.,

    749 F.     Supp.       2d at 464          (applying the percentage-of-recovery method

    and using the            lodestar          cross-check as                    an     element      of objectivity

    in     [the]    analysis").

                     2.     Reasonable              Fees        under        the        Percentage-of-Recovery
                     Method


             To determine whether the requested percentage of recovery is

    reasonable,           the     court        considers             the     following          factors:           (1)   the


    results        obtained       for the           Class;        (2)      objections by members of                      the

    Class     to    the     settlement              terms       and/or       fees        requested by             counsel;

     (3)   the quality,           skill,        and efficiency of the attorneys involved;

     (4) the complexity and duration of the litigation;                                              (5)    the risk of


    nonpayment;            (6)    public policy;                 and       (7)    awards       in    similar        cases.


    The Mills Corp.,              265        F.R.D.       at 261.

             The    court        has     already           addressed             the    first       five       factors    in

    assessing the            fairness          and adequacy of the Settlement Agreement.

    The     court        finds:        (1)    the        $70   million           settlement          is    a    favorable

    result         for     the    Class;            (2)        there       were        no     objections           to    the

    Settlement Agreement                     or the        attorneys'             fees      request;        (3)    counsel

    for     EPPs     are     experienced                 and    highly           skilled       in    pharmaceutical

    antitrust        class        action        cases;           (4)    this           case    was    litigated          for

    nearly five years and involved numerous complex issues of fact and



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    law;    and        (5)    EPPs faced significant risks in proving their case at

    trial,        so     there        was    a     significant         risk     that      counsel      would    not

    receive any compensation for their efforts.                                     Each of these factors

    supports the              reasonableness of the requested fee.

            In considering                  public         policy    of the    proposed       fee      award,   the

    court     must            balance        two       competing       policy       goals.        Class    action


    litigation often requires attorneys to front costs at significant

    risk     of    nonpayment,               so       an   attorneys'       fee     award    should       provide

    sufficient incentive for competent attorneys to pursue meritorious

    cases.    The            Mills    Corp.,       265      F.R.D.    at   263.    However,       an    oversized

    fee    award could               serve       to    undermine       public      trust    in    class    action

    litigation.              See     id.;   Kay Co.,         749 F.    Supp.       2d at    469    ("Because of

    the     damage            caused        by     the       perception       of     overcompensation            of

    attorneys           in     class        action         suits,     lawyers      requesting          attorneys'

    fees and judges reviewing those requests must exercise heightened

    vigilance to ensure the fees are in fact reasonable beyond reproach

    and worthy of our justice system.").

            The court is satisfied that the requested attorneys'                                          fees of

    one-third           of     the    Settlement            Fund     properly      balances       these    policy

    goals. A significant award is appropriate for the attorneys because

    they litigated the case vigorously for nearly five years,                                             managed

    the interests of the EPP Class,                            and fronted significant costs.                   The

    court     finds           that     the       one-third          percentage       of    the    fund    is    not




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    excessive          so        as     to       undermine              public        trust         in     class     action

    litigation.

           The       requested             fee    award also             falls    within           the    typical        range


    of    awards      in     pharmaceutical                   antitrust          cases.           District       courts     in

    the   Fourth       Circuit             have    frequently found that                          a percentage           award

    of    one-third           of       the       Settlement              Fund     is        within        the     range     of

    reasonable percentage of recovery,                                   and one-third of the                    fund is a

    common      award       in    antitrust             class      actions.           See    In    re     Peanut    Farmers


    Antitrust Litiq.,                 2021 WL 9494033,                  at     *5-6    (E.D,      Va. Aug.        10, 2021)

     (collecting            cases).              Additionally,                 courts        often         award     higher

    percentage rates of attorneys'                              fees after discovery is completed.

    Id.   at    *6    (citation             omitted).          The       court        finds       that    the requested

    fee    is    in     line          with       awards       in        similar       cases         and    the     parties'

    settlement             after       completion             of        discovery           further        supports        the

    one-third         fee.


                      3.    Lodestar             Cross-Check


           When       using           the        lodestar          method        only        for     the        purpose     of

    cross-checking               the       reasonableness                 of    the     percentage-of-recovery

    method,       the        court          need        not    exhaustively                 scrutinize           counsels'

    documented         hours          as    it    would       if    the      lodestar         method       were     used    as


    the    primary          determiner             of    reasonableness.                    The     Mills       Corp.,     265

    F.R.D.      at    264        (citation          omitted).                Instead,         the       court     will     use

    counsels'         documented             hours       to   calculate           the       lodestar        cross-check.




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    See    Jones    v.     Dominion        Res.     Serve.,            Inc.,        601     F.    Supp.           2d    756,

    765-66       (S.D.W.    Va.     2009).

            Counsel        for     the    EPPs     report             that    they        worked        a     total       of

    31,710.2 hours.          ECF No.       2161-1 at             5.   This work was not duplicative

    and was       overseen         by co-lead counsel.                   Counsel          provided the                 court

    with    extensive       documentation on                the       number    of    hours       worked by each

    attorney and the historical hourly rate of each attorney throughout

    the litigation. See ECF No. 2161-2. Multiplying the number of hours

    each attorney worked times the historical rate for that attorney.

    the    lodestar        value     equals       $18,999,856.30.                   ECF     No.     2161-1             at 5.

    Dividing the requested fee award of $23,333,333.33 by the lodestar

    value of $18,999,856.30 provides a lodestar multiplier of 1.23.

            The    court     finds        that    the       lodestar          multiplier            supports             the

    reasonableness of the requested fee award. The lodestar multiplier

    is    less than multipliers                  that       courts       in this          Circuit           have       found

    reasonable in           similar cases.              See,                   Peanut       Farmers,              2021    WL

    9494033,       at *7     (finding that              a   lodestar multiplier                    of       2.92 would

    be reasonable where counsel requested an award of $34,250,000 and

    collecting          cases) ;    In re Genworth                Fin.       Sec.    Litiq.,        210       F.       Supp.

    3d    837,    845     (E.D.     Va.   2016)         ("District           courts        within           the    Fourth

    Circuit       have     regularly       approved           attorneys^             fees        awards       with       2-3

    times    lodestar multipliers.")




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            B.    Request for Costs and Expenses

            Counsel           request        reimbursement                 of         reasonable           costs         and

    expenses       in    the    amount       of        $3,905,175.85.             ECF No.        2161       at 2.        The

    court may award nontaxable costs that are authorized by law or the

    parties'       agreement.          Fed.       R.    Civ.        P.    23(h),       Here,     the       Settlement

    Agreement       states       that    reasonable                costs    and        expenses will be                 paid

    from    the    Settlement          Fund.      ECF    No.        2134-1       at    11.


             It    is well-established that plaintiffs who are                                         entitled to

    recover       attorneys           fees     are      also        entitled          to     recover       reasonable


    litigation-related                expenses           as        part    of     their        overall           award.
                                                                                                                           n




    Singleton v.          Domino's Pizza,               LLC,       976 F.       Supp.      2d 665,         689    (D.    Md.

    2013)        (citation       omitted).             These        expenses          include     the        types        of

    normal       expenses       that    would be           charged          to    a     fee-paying client                 in

    the    course       of    litigation,          such        as    necessary             travel,     depositions

    and transcripts,             postage,         court costs,              and photocopying.                    See     id.

     (citations         omitted).

            Counsel       have    provided             extensive           documentation              on    the     costs

    and expenses they incurred relating to this litigation,                                                  including

    expenses       for       transportation,              document           production,              postage,           and

    other typical             litigation expenses.                   See    ECF No.           2161-2.       The     court

    notes that the reimbursement request of $3,905,175.85 is high,                                                      but

    the    court    is    satisfied that                this       request       is     reasonable given the

    duration       of    the    proceedings.             the        complex       questions           of    facts        and

    law present          in    this    case.       and the           advanced          stage     of    proceedings

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    when      the     parties       reached           settlement.              Moreover,        the      requested

    expenses are consistent with expenses courts have awarded in cases

    of     comparable       size.        See,    e.g. ,       In re       Lidoderm        Antitrust               Litig.,


    2018     WL      4620695,       at    *4     (N.D.        Cal.        Sept.     20,     2018)            (awarding

    reimbursement of              $3,948,118          in     expenses          where     counsel      achieved a

    $104.75 million settlement);                      In re Loestrin 24 Fe Antitrust Litig.,

    2020      WL      5201275,           at *5        (D.R.I.            Sept.      1,     2020)             (awarding

    reimbursement of $3,993,996.58                         in expenses where counsel achieved

    a     $63.5 million       settlement).

             C.    Incentive      Awards


             Counsel request an incentive award totaling $300,000 for the

    Class         Representatives.             ECF     No.        2161     at 26.        Five    of   the           Class

    Representative           Plaintiffs              would receive             $30,000      each,       while            two

    Class Representative Plaintiffs,                          (Painters District Council No.                              30

    Health & Welfare              Fund and The             City of Providence,                  Rhode        Island),

    would     receive       $75,000        each.       Id.        The    Settlement        Agreement               states

    that the incentive awards will be paid out of the Settlement Fund.

    ECF     No.    2134-1    at    11.     Such       awards        are        fairly     typical.                and    are
                                                                                                        II




         intended    to     compensate          class        representatives              for    work             done    on
    \\




    behalf of the class,                to make up for financial or reputational risk

    undertaken         in   bringing           the    action,           and,    sometimes,       to      recognize

    their     willingness          to    act     as    a     private       attorney        general.
                                                                                                             //
                                                                                                                   Brown,


    318     F.R.D.    at    578    (citation          omitted).




                                                             23
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             The       court      finds        that     the         requested              incentive           award     is

    reasonable.               Class     Representatives                  have     amply           fulfilled        their

    duties in this              litigation and provided a valuable                                  service to the

    Class.         Additionally,              the     extraordinary               service           of     Plaintiffs

    Painters           District         Council        No.         30    and     City        of     Providence           in

    performing           trial-related               services           warrants        the       increased        award

    amount        of    $75,000.        The     requested incentive                   award         amounts       are    in

    line      with       incentive            awards    that            courts    in        this      Circuit          have


    previously           granted.        See,                 Peanut          Farmers,        2021        WL    9494033,


    at *8     {awarding $40,000 each to six class representatives);                                                In re

    Celebrex           (Celecoxib)            Antitrust        Litig.,           2018       WL      2382091,       at    *5

     (E.D,    Va.       Apr.     18,     2018)       (awarding $100,000                    each to        three    class

    representatives);                  In re Titanium Dioxide Antitrust Litig., 2013 WL

    6577029,           at *1     (D.    Md.    Dec.     13,        2013)       (awarding          $125,000        to    one

    class         representative               and     $25,000            each        to      two     other        class

    representatives).

             D.    Conclusion


             For        the     foregoing            reasons,           EPPs'     Motion            for        Award     of

    Attorneys'           Fees,     Reimbursement             of Expenses,              and       Incentive Awards

    for the Class Representatives,                           ECF No.          2160,     is GRANTED.

                                        IV.   DISMISSAL        OF       EPP    CLAIMS



             The court has now approved the Settlement Agreement,                                               which is

    binding        on    all     EPP     Class       members'           claims.       Accordingly,              all     EPP

    Class         members'        claims         against           Defendants           are       DISMISSED            WITH

                                                              24
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    PREJUDICE.        The    court DIRECTS the Clerk to enter judgment to this

    effect, there being no just reason for delay, pursuant to the Final
                                                                              with      this
    Order and Judgment of Dismissal filed in conjunction

    Opinion.

           The     Clerk      is   further   DIRECTED   to   forward   a   copy    of   this

    Opinion and the Final Order and Judgment of Dismissal to counsel
    of   record.


           IT    IS   SO    ORDERED.




                                                                  r\



                                                        REBECCA   BEACH    SMITH
                                             SENIOR UNITED   STATES    DISTRICT    JUDGE


    October            ,    2023




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